    Case: 1:09-cr-00383 Document #: 1021-1 Filed: 07/29/24 Page 1 of 3 PageID #:11280




THOMAS G. BRUTON
  Clerk of Court

                                    GUIDELINES FOR PROCEEDINGS

                               USA v. Guzman-Loera et al 09 CR 383-21

    The following procedures will apply in connection with the hearing in 09 CR 383-21 scheduled
    to commence at 11:30 a.m. on Tuesday, July 30, 2024, in Courtroom 1719 at the Dirksen
    United States Courthouse located at 219 South Dearborn Street, Chicago, Illinois.

        •   The Courthouse will open at 7:00 a.m. and close at 6:00 p.m.

        •   The U.S. Marshals Service will be in charge of providing security and may limit
            seating or access as necessary to ensure the safety of all present.

        •   Beginning at 11:00 a .m., all members of the media and public may line up in
            the public corridor outside Courtroom 1719.

        •   At 11:15 a .m., credentialed members of the media will be seated in the jury box.
            Sketch artists will be provided a seat and must be present at 11:15 p.m. in the
            hallway outside the courtroom. Members of the media in the jury box will be asked
            to present valid, unexpired court-recognized media credentials.

        •   No cell phones, laptops, or other electronic devices will be allowed in Courtroom
            1719. Lockboxes for cell phones will be available outside Courtroom 1719 on a
            first come, first served basis with limited availability. The lockboxes do not
            accommodate laptops or iPads, and those devices are not allowed in the
            courtroom.

        •   All other media and public will line up in the public corridor outside Courtroom 1719
            no earlier than 11:00 a .m. Seating will be provided on a first come, first served
            basis.

        •   Courtroom 1925 will be used as an overflow courtroom with a video and
            audio feed from courtroom 1719. Members of the media with an
            unexpired court-recognized media credentials will be allowed to use their
            electronic devices in the overflow courtroom. Members of the public will
            not be allowed to bring electronic devices into courtroom 1925.

        •   Recording, streaming, broadcasting, or photographing is prohibited
            pursuant to Local Rule 83.1.
Case: 1:09-cr-00383 Document #: 1021-1 Filed: 07/29/24 Page 2 of 3 PageID #:11281



   •   Photographing and video or audio recording or transmission of any court
       proceeding, including in an overflow room, is prohibited.

   •   No beverages or food are allowed in the courtroom.

   •   Members of the media must display court media credentials on their person while in
       the courthouse.

   •   Credentialed members of the media will have lobby access until 6:00 p.m.

   •   Chairs and stools will not be allowed in the media area of the lobby.

   •   The U.S. Marshals Service can restrict the entrance to the media area in the lobby
       should there arise a life safety concern with occupancy.

   •   The media is reminded that public safety must be considered, and any action that may
       cause an unsafe environment will be addressed by the U.S. Marshals Service. No
       member of the public or the media can block an entrance or exit to the Courthouse.

   •   Failure to comply with these rules will result in removal from the courtroom. Any
       violation of a court order will be addressed.

   •   No conversations or disruptive gestures are permitted in the courtroom.

   • No interviews or interview requests are permitted on the 17th floor or any other
     floor of the Dirksen U.S. Courthouse other than in the lobby, pursuant to the
     August 23, 2018, Joint Courthouse Security Order

   •   Interviews may occur only in the designated media area of the lobby. Only
       credentialed members of the media may use the media area of the lobby. Filming of
       any security equipment or uniformed security personnel is strictly prohibited.

   •   The recording, streaming, or use of cameras is not allowed in the Courthouse, except
       in the media area in the lobby. Cameras, photography, and recording are prohibited in
       all areas of the Courthouse except in the media area of the lobby.

   •   The U.S. Marshals Service can restrict the entrance to the media area in the lobby
       should there arise a life safety concern with occupancy.

   •   The media is reminded that public safety must be considered, and any action that may
       cause an unsafe environment will be addressed by the U.S. Marshals Service. No
       member of the public or the media can block an entrance or exit to the Courthouse.
Case: 1:09-cr-00383 Document #: 1021-1 Filed: 07/29/24 Page 3 of 3 PageID #:11282


   •   Pursuant to LR 83.1, the designated Freedom of Speech and Expression area is the
       Federal Plaza, located at the southwest corner of Adams and Dearborn Streets. The
       General Services Administration maintains this area and may require special
       permitting. Soliciting and loitering within the court environs is prohibited. The
       unapproved congregating of groups or the causing of a disturbance or nuisance
       within or on the curtilage of the courthouses of this Court is prohibited.
       Demonstrating, protesting, picketing or parading outside of the courthouses of this
       Court is prohibited only when such action obstructs or impedes the orderly
       administration of justice.

   •   Failure to comply with these rules will result in removal from the courtroom and
       courthouse. Any violation of a court order will be addressed.

       Contact: Additional information, regulations, and prohibitions are on the
       Court’s website, www.ilnd.uscourts.gov, and posted in the Courthouse. If you
       have any questions regarding the guidelines, please contact Thomas Bruton,
       Clerk of Court, at thomas_bruton@ilnd.uscourts.gov
